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                                    3890




                             Exhibit 15
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                                                       3891

Layne Hilton

From:                Layne Hilton
Sent:                Thursday, October 24, 2019 2:32 PM
To:                  'Clem C. Trischler'; 'Jason M. Reefer'
Cc:                  Valsartan PEC (valpec@kirtlandpackard.com); 'Priselac, Jessica'; 'CohenL@gtlaw.com';
                     'harkinss@gtlaw.com'; 'Jason M. Reefer'; 'Jessica Heinz, Esquire'; 'Blanton, Robert E.';
                     'JPoletto@hkmpp.com'; 'alexia.brancato@kirkland.com'; 'lockardv@gtlaw.com';
                     'rubensteinb@gtlaw.com'; 'Klein, Alan'; 'Schwartz, Barbara'; 'Waleko, Alexandra'; 'Rapone, Donna M.';
                     'Goldberg, Seth A. (SAGoldberg@duanemorris.com)'
Subject:             RE: In re Valsartan - Mylan Custodians


Clem, Jason:

I write further to the Parties’ meet and confers of October 10, and October 16, to memorialize the open issues regarding
the selection of custodians.

Historic organizational charts of API Manufacturing facilities. As of our meet and confer on October 16, 2019, Mylan
was still investigating the existence of the historical organizational charts described below in my email of October
10th. Plaintiffs believe historical organizational charts are a critical piece to developing a final custodian list, as
custodians with a long tenure at the company may help to streamline custodial production and reduce duplication.

Procurement. Upon further review of the agreed‐upon custodian list, Plaintiffs realized there are no individuals listed
with responsibility for procurement of raw materials (including solvents), or individuals who had responsibility for
selecting and managing the contracts for any for any third‐party vendors used for solvent recovery. Plaintiffs had
previously identified persons who were listed on certificates of analysis regarding certain solvents, but it appears that
these individuals are not the same persons responsible for procuring and/or securing contracts for Solvents. Plaintiffs
request that Mylan investigate the procurement department for API manufacturing to assist Plaintiffs in identifying
relevant potential custodians.

Finished Dose Manufacturing. Plaintiffs recognize that Mylan contests the relevance of finished dose manufacturing
facilities, and this issue will likely be decided by the Court in December. However, to the extent the Court allows for that
discovery, it seems inefficient to only then begin the process of negotiating these additional custodians. As such,
Plaintiffs request that Mylan produce some small subsection of documents (either organizational charts, or
Establishment Inspection Reports, or both) for the Nashik and Morgantown, WV finished dose manufacturing
facilities. Given that both of these facilities were both inspected numerous times, I would expect Mylan has the
organizational information provided to the FDA. A small and limited organizational chart and/or EIR production for the
two finished dose manufacturing facilities will allow the Parties to agree upon these custodians now and ensure that
there are no additional delays in December when the Court clarifies the contours of discovery.

Distribution, Sales, and Pricing custodians of Finished Dose Products. Mylan has indicated that it would continue
investigating other possible custodians who would have responsibility for these functions as it related to the sales and
distribution of finished dose products beyond Dave Workman, who has been previously agreed upon in the below list.

API Sales. Mylan has indicated they would continuing gathering names for persons with knowledge of API sales of
Valsartan. As of right now, the agreed‐upon custodian list below does not include any API sales custodians. Through
their research, Plaintiffs have identified the following people as possibly having API sales knowledge: Ruturaj Kulkarni,
Satish Mahanti, Mamtha Kaushal, and Gaurav Singh. I believe Kulkarni may have been mentioned at some point by
Mylan has being a person who might have relevant knowledge.


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                                                     3892
Databases and Documents. Mylan indicated that it was working to gather information about how electronic documents
are kept in both its United States, and India operations.

When can Mylan meet and confer on the above‐listed issues?

Best,

Layne



From: Layne Hilton
Sent: Thursday, October 10, 2019 12:38 PM
To: 'Clem C. Trischler' <CCT@Pietragallo.com>; Jason M. Reefer <JMR@Pietragallo.com>
Cc: Conlee Whiteley <c.whiteley@kanner‐law.com>; 'Adam Slater' <ASlater@mazieslater.com>; 'Honik, Ruben'
<RHonik@GolombHonik.Com>; 'Daniel Nigh' <dnigh@levinlaw.com>; 'Stanoch, David' <DStanoch@GolombHonik.Com>;
'Christopher Geddis' <CGeddis@mazieslater.com>; 'Behram V. Parekh' <bvp@kirtlandpackard.com>; 'George T.
Williamson' <gwilliamson@farr.com>; 'Marlene Goldenberg (mjgoldenberg@goldenberglaw.com)'
<mjgoldenberg@goldenberglaw.com>; 'Priselac, Jessica' <JPriselac@duanemorris.com>; 'CohenL@gtlaw.com'
<CohenL@gtlaw.com>; 'harkinss@gtlaw.com' <harkinss@gtlaw.com>; Jason M. Reefer <JMR@Pietragallo.com>; Jessica
Heinz, Esquire <jheinz@c‐wlaw.com>; 'Blanton, Robert E.' <RBlanton@hkmpp.com>; 'JPoletto@hkmpp.com'
<JPoletto@hkmpp.com>; 'alexia.brancato@kirkland.com' <alexia.brancato@kirkland.com>; 'lockardv@gtlaw.com'
<lockardv@gtlaw.com>; 'rubensteinb@gtlaw.com' <rubensteinb@gtlaw.com>; 'Klein, Alan'
<AKlein@duanemorris.com>; 'Schwartz, Barbara' <BASchwartz@duanemorris.com>; 'Waleko, Alexandra'
<AWaleko@duanemorris.com>; 'Rapone, Donna M.' <Rapone@duanemorris.com>; Goldberg, Seth A.
(SAGoldberg@duanemorris.com) <SAGoldberg@duanemorris.com>; Priselac@duanemorris.com
Subject: RE: In re Valsartan ‐ Mylan Custodians

Clem:

Thank you for your preparation for today’s meet and confer, and the inquiries you made into the persons identified in
Plaintiffs’ October 8, 2019, correspondence. We will take your comments under advisement going forward and in
conjunction with our continuing negotiations regarding ESI custodians.

Plaintiffs also appreciate Mylan’s prompt production of an organizational chart for an API manufacturing facility, which
you believe is current as of 2019. As I mentioned on our call, there are references to other organizational charts in
several EIRs from over the last decade as having been provided to FDA investigators prior to inspection. Some of these
documents may be duplicative of the two page document you produced today (MYLAN‐MDL2875‐00030973‐
74). However, in the event it is not, I thought the below references may assist you in locating the other historic
organizational charts. These historic organizational charts will assist Plaintiffs in understanding how the leadership
structure and/or divisions may have changed over time at Mylan’s two API manufacturing facilities.

       October 27, 2010 Establishment Inspection Report of Matrix Laboratories (Unit III)
             o “Organizational charts detailing people from Corporate down to working level were provided (Exh. 1pg.
                 1‐4).” See MYLAN‐MDL2875‐00030165‐95.
       July 30, 2012 Establishment Inspection Report of Mylan Laboratories Limited (Unit 8)
             o “Organization charts were provided (Exhibit 1 pgs, 10, 17, 18). See MYLAN‐MDL2875‐00030258‐86
       August 6, 2017 Establishment Inspection Report of Mylan Laboratories Limited (Unit 8)
             o “A copy of the firm’s corporate and site‐level organizational chart is included…[in] Exhibit 1.” See
                 MYLAN‐MDL2875‐00030226‐43.
       May 21, 2018 Establishment Inspection Report of Mylan Laboratories Limited (Unit III)


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            o   “Organizational chart provided by the firm in the Overview Presentation (Exhibit 05) which identified P.
                Jayachandra Prasad, Vice President – Manufacturing Operations, as the most responsible person at the
                firm in the absence of Mr. Jyothi Basu.” See MYLAN‐MDL2875‐00030326‐41.

Plaintiffs look forward to the follow‐up information you will be providing.

Best,

Layne

From: Clem C. Trischler [mailto:CCT@Pietragallo.com]
Sent: Thursday, October 10, 2019 10:51 AM
To: Layne Hilton; Jason M. Reefer
Cc: Conlee Whiteley; 'Adam Slater'; 'Honik, Ruben'; 'Daniel Nigh'; 'Stanoch, David'; 'Christopher Geddis'; 'Behram V.
Parekh'; 'George T. Williamson'; 'Marlene Goldenberg (mjgoldenberg@goldenberglaw.com)'; 'Priselac, Jessica';
'CohenL@gtlaw.com'; 'harkinss@gtlaw.com'; Jason M. Reefer; Jessica Heinz, Esquire; 'Blanton, Robert E.';
'JPoletto@hkmpp.com'; 'alexia.brancato@kirkland.com'; 'lockardv@gtlaw.com'; 'rubensteinb@gtlaw.com'; 'Klein, Alan';
'Schwartz, Barbara'; 'Waleko, Alexandra'; 'Rapone, Donna M.'; Goldberg, Seth A. (SAGoldberg@duanemorris.com);
Priselac@duanemorris.com
Subject: RE: In re Valsartan - Mylan Custodians

Layne

Following up on our call and to make sure we are on the same page, Mylan has agreed to 15 custodians for purposes of
ESI discovery. The list of 15 are:

    1. Imtiyaz Basade.
    2. Wayne Talton
    3. Cassandra Bird
    4. Antony Gomas
    5. Reem Malki
    6. Walter Owens
    7. Yasir Rawjee
    8. K. Sarat Kumar
    9. G. Chinni Krishna Reddy
    10. Lance Molnar
    11. Jeffrey Smith
    12. Naveenkumar Kolla
    13. Abbineni Jyothibasu
    14. Dave Workman
    15. Michael Plastina

We exchanged a great deal of information during our call today and I indicated that I would follow up with you on a few
additional names, Abhijit Deshmukh and N. Anjani Kumar. I will also follow up on your inquiries regarding the marketing
, sale and distribution of valsartan API to non Mylan customers. Separately, I will reach out to Behram to discuss
document management and document system inquiries.

I hope we can continue to move forward in a positive manner to finalize the identification of ESI custodians. In that
regard, if you have additional names that you feel should be included on the list of 15, please pass them along and we
can discuss further.

Clem C. Trischler, Esquire
Pietragallo Gordon Alfano Bosick & Raspanti, LLP

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                                                       3894
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From: Clem C. Trischler
Sent: Wednesday, October 9, 2019 4:24 PM
To: Layne Hilton <l.hilton@kanner‐law.com>; Jason M. Reefer <JMR@Pietragallo.com>
Cc: Conlee Whiteley <c.whiteley@kanner‐law.com>; 'Adam Slater' <ASlater@mazieslater.com>; 'Honik, Ruben'
<RHonik@GolombHonik.Com>; 'Daniel Nigh' <dnigh@levinlaw.com>; 'Stanoch, David' <DStanoch@GolombHonik.Com>;
'Christopher Geddis' <CGeddis@mazieslater.com>; 'Behram V. Parekh' <bvp@kirtlandpackard.com>; 'George T.
Williamson' <gwilliamson@farr.com>; 'Marlene Goldenberg (mjgoldenberg@goldenberglaw.com)'
<mjgoldenberg@goldenberglaw.com>; 'Priselac, Jessica' <JPriselac@duanemorris.com>; 'CohenL@gtlaw.com'
<CohenL@gtlaw.com>; 'harkinss@gtlaw.com' <harkinss@gtlaw.com>; Jason M. Reefer <JMR@Pietragallo.com>; Jessica
Heinz, Esquire <jheinz@c‐wlaw.com>; 'Blanton, Robert E.' <RBlanton@hkmpp.com>; 'JPoletto@hkmpp.com'
<JPoletto@hkmpp.com>; 'alexia.brancato@kirkland.com' <alexia.brancato@kirkland.com>; 'lockardv@gtlaw.com'
<lockardv@gtlaw.com>; 'rubensteinb@gtlaw.com' <rubensteinb@gtlaw.com>; 'Klein, Alan'
<AKlein@duanemorris.com>; 'Schwartz, Barbara' <BASchwartz@duanemorris.com>; 'Waleko, Alexandra'
<AWaleko@duanemorris.com>; 'Rapone, Donna M.' <Rapone@duanemorris.com>; Goldberg, Seth A.
(SAGoldberg@duanemorris.com) <SAGoldberg@duanemorris.com>; Priselac@duanemorris.com
Subject: RE: In re Valsartan ‐ Mylan Custodians

Thanks Layne. I circulated a call in for our call tomorrow morning at 10 est. In the meantime, I will review your list and
be prepared to discuss it tomorrow.

Clem C. Trischler, Esquire
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From: Layne Hilton <l.hilton@kanner‐law.com>
Sent: Tuesday, October 8, 2019 8:44 PM
To: Clem C. Trischler <CCT@Pietragallo.com>; Jason M. Reefer <JMR@Pietragallo.com>
Cc: Conlee Whiteley <c.whiteley@kanner‐law.com>; 'Adam Slater' <ASlater@mazieslater.com>; 'Honik, Ruben'
<RHonik@GolombHonik.Com>; 'Daniel Nigh' <dnigh@levinlaw.com>; 'Stanoch, David' <DStanoch@GolombHonik.Com>;
                                                              4
    Case 1:19-md-02875-RMB-SAK                  Document 296-15           Filed 11/18/19       Page 6 of 7 PageID:
                                                       3895
'Christopher Geddis' <CGeddis@mazieslater.com>; 'Behram V. Parekh' <bvp@kirtlandpackard.com>; 'George T.
Williamson' <gwilliamson@farr.com>; 'Marlene Goldenberg (mjgoldenberg@goldenberglaw.com)'
<mjgoldenberg@goldenberglaw.com>; 'Priselac, Jessica' <JPriselac@duanemorris.com>; 'CohenL@gtlaw.com'
<CohenL@gtlaw.com>; 'harkinss@gtlaw.com' <harkinss@gtlaw.com>; Clem C. Trischler <CCT@Pietragallo.com>; Jason
M. Reefer <JMR@Pietragallo.com>; Jessica Heinz, Esquire <jheinz@c‐wlaw.com>; 'Blanton, Robert E.'
<RBlanton@hkmpp.com>; 'JPoletto@hkmpp.com' <JPoletto@hkmpp.com>; 'alexia.brancato@kirkland.com'
<alexia.brancato@kirkland.com>; 'lockardv@gtlaw.com' <lockardv@gtlaw.com>; 'rubensteinb@gtlaw.com'
<rubensteinb@gtlaw.com>; 'Klein, Alan' <AKlein@duanemorris.com>; 'Schwartz, Barbara'
<BASchwartz@duanemorris.com>; 'Waleko, Alexandra' <AWaleko@duanemorris.com>; 'Rapone, Donna M.'
<Rapone@duanemorris.com>; Goldberg, Seth A. (SAGoldberg@duanemorris.com) <SAGoldberg@duanemorris.com>;
Priselac@duanemorris.com
Subject: In re Valsartan ‐ Mylan Custodians

Clem and Jason:

I write further to the parties’ meet and confer on October 7, 2019.

At your request, I am providing you with a preliminary list of employees at Mylan Laboratories Limited, Mylan
Pharmaceuticals, Inc., and/or Mylan N.V. (hereafter “Mylan”), who Plaintiffs have identified as being potential
custodians, but who were not identified in Mylan’s September 23, 2019, custodian list.

To help you in identifying these persons who work for your client(s), I have included what I believe to be their first and
last name, and their job title/department, if known. I have also included, at your request, sample and demonstrative
bates ranges in Mylan’s core discovery production from which Plaintiffs gathered the information regarding these
individuals.

Plaintiffs provide this information simply for the purposes of further conferring with Mylan regarding additional sources
of custodial documents. Indeed, this list is by no means exhaustive, encompassing or definitive. This list simply
represents persons known to Plaintiffs at this moment in time, as a result of an initial review of Mylan’s limited core
discovery production. Given the limited focus of core discovery, it is without question that this list will grow to include
(among many other things): custodians related to the economic loss claims (which were not included in Mylan’s initial
list), custodians related to the sales and business development of API (which were not included in Mylan’s initial list) and
custodians related to finished dose manufacturing in both India and Morgantown, W.V. (which were not included in
Mylan’s initial list).

As such, Plaintiffs provide the attached information subject to, and without waiving their rights, including their right to
supplement any requests as more information becomes known.

Best,

Layne



Layne Hilton
Kanner & Whiteley, L.L.C.
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New Orleans, LA 70130
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(504) 524-5763 fax
www.kanner-law.com

_________________________________
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